
PER CURIAM.
Randy Walker, the defendant, appeals the trial court’s order summarily denying his postconviction motion under rule 3.850 of the Florida Rules of Criminal Procedure. The order recites that the defendant’s claims are conclusively refuted by attached portions of the record, but the portions of the record to which the court referred were not attached. Because the defendant has asserted several facially sufficient claims, the trial court erred in summarily denying the motion. Fla. R.Crim.P. 3.850(d). We reverse and remand this cause to the trial court for attachment of those portions of the record that conclusively refute appellant’s claims or an evidentiary hearing. Hall v. State, 603 So.2d 650 (Fla. 1st DCA 1992); Wells v. State, 598 So.2d 259 (Fla. 1st DCA 1992); Oehling v. State, 659 So.2d 1226 (Fla. 5th DCA 1995).
Reversed and remanded.
WEBSTER, MICKLE and PADOVANU, JJ., concur.
